                        3:20-cv-03233-SEM-TSH # 148   Page 1 of 4
                                 Summary                                                E-FILED
                                                               Friday, 07 May, 2021 04:58:39 PM
                                                                   Clerk, U.S. District Court, ILCD
                         USD
Legal & expert fees   517,308.33
Flights                 8,398.91
Accomodations          38,788.63
Total                 564,495.87
                                                   3:20-cv-03233-SEM-TSH # 148               Page 2 of 4
                                                         Legal Fees

Law Firm/ Expert   Feinberg Sharma Kepner & Reiser Brown Hay & Stephen Akerman Botti Marinaccio Hensley Sendek Scott & Scott Azan Marwah Dr. Robert Shapiro
Currency                 USD            USD               USD             USD        USD             USD           USD           HKD            USD
Aug-20                    1,740.00            -                    -          -            -               -            -             -                -
Sep-20                   13,713.90       1,226.41                  -          -            -               -            -             -                -
Oct-20                   21,207.50            -                    -          -            -               -            -             -                -
Nov-20                   13,338.60            -                    -          -            -               -       5,031.25           -                -
Dec-20                         -              -               1,113.25  30,167.75    13,007.10             -       1,723.50           -          15,000.00
Jan-21                         -              -                  87.50  50,074.33     3,427.64        5,348.50     1,004.75           -                -
Feb-21                         -              -                    -    56,659.51          -         29,283.75     1,032.45     70,000.00              -
Mar-21                         -              -                 562.50 140,719.30          -         33,245.25     5,942.25    122,500.00        10,000.00
Apr-21                         -              -                    -                                 29,435.75     5,848.50           -           3,000.00
Total                    50,000.00       1,226.41             1,763.25 277,620.89    16,434.74       97,313.25    20,582.70    192,500.00        28,000.00
USD Equivalent           50,000.00       1,226.41             1,763.25 277,620.89    16,434.74      97,313.25    20,582.70      24,367.09        28,000.00

Total in USD           517,308.33
                                                             3:20-cv-03233-SEM-TSH # 148                           Page 3 of 4
                                                                      Flights

Date                   Trip          Currency   Amount        USD                                                           Note
 31-Oct-21   Hong Kong <=> Chicago   HKD        25,066.00   3,172.91
 23-Dec-20   Hong Kong <=> Chicago   HKD         7,230.00     915.19 Return flight canceled by Cathay Pacific, refund not yet completed. Amount halved to account for the potential refund
 13-Jan-21   Chicago <=> Bahamas     USD           817.65     817.65
 22-Feb-21   Chicago <=> Bahamas     USD           672.65     672.65
 4-May-21    Chicago => Mexico       HKD         7,929.00   1,003.67
 6-May-21    Mexico => Hong Kong     USD         1,816.84   1,816.84
Total                                                       8,398.91
                                                3:20-cv-03233-SEM-TSH # 148                  Page 4 of 4
                                                       Accomodations

From              To                Place                           Purpose                   Currency     Amount        USD     Days Avg per night
   2-Nov-20     6-Nov-20   AirBnB - Moose Cabin     Visit Children                            HKD          10,889.65    1,378.44    4          345
   6-Nov-20   11-Nov-20    AirBnB - Chicago         Visit Children                            HKD          14,654.10    1,854.95    5          371
 11-Nov-20    16-Nov-20    AirBnB - Effingham       Visit Children                            HKD           7,780.94      984.93    5          197
 16-Nov-20    19-Nov-20    AirBnB - Chicago         Wait for COVID Test                       HKD           3,510.10      444.32    3          148
 20-Nov-20      4-Dec-20   Novotel Hong Kong        Quarantine                                HKD          15,510.00    1,963.29   14          140
 24-Dec-20     13-Jan-21   AirBnB - Chicago         Visit Children                            HKD          26,843.12    3,397.86   20          170
  13-Jan-21    11-Feb-21   Bahamas                  Wait to Visit Children                    USD           3,000.00    3,000.00   29          103
  11-Feb-21    22-Feb-21   AirBnB - Chicago         Visit Children                            HKD          20,797.69    2,632.62   11          239
  22-Feb-21   18-Mar-21    Bahamas                  Wait for Trial                            USD           3,000.00    3,000.00   24          125
 18-Mar-21    27-Mar-21    AirBnB - Chicago         Trial                                     HKD          10,585.01    1,339.87    9          149
 27-Mar-21      5-Apr-21   AirBnB - Chicago         Visit Children                            HKD          21,037.85    2,663.02    9          296
   5-Apr-21    12-Apr-21   AirBnB - Chicago         Trial                                     HKD           9,751.09    1,234.32    7          176
  12-Apr-21    19-Apr-21   AirBnB - Chicago         Visit Children                            HKD          22,024.65    2,787.93    7          398
  19-Apr-21    4-May-21    Kasa - Chicago           Wait for Trial Result & Visit Children    USD           2,571.43    2,571.43   15          171
  4-May-21     6-May-21    Courtyard - Mexico       Transit                                   USD             338.19      338.19    2          169
  7-May-21    28-May-21    Regal Hotel Airport HK   Quarantine                                HKD          72,660.00    9,197.47   21          438
 Total                                                                                                                 38,788.63 185           210
